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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In Re &lt;span class="ldml-name"&gt;People in the interest of J.D.&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA193&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 22, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;h2 class="ldml-opinionheading"&gt;&lt;div class="ldml-casehistory"&gt;&lt;span data-paragraph-id="101" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="101" data-sentence-id="124" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;ORIGINAL PROCEEDING&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/div&gt;&lt;/h2&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="144" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="144" data-sentence-id="160" class="ldml-sentence"&gt;Show
 Cause order issued on &lt;span class="ldml-entity"&gt;July 8, 2024&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="206" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="206" data-sentence-id="222" class="ldml-sentence"&gt;RULE
 CHANGE &lt;span class="ldml-entity"&gt;2024&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(12)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="upper_case_lacks_specifier" data-content-heading-label="
 COLORADO
 RULES OF CIVIL PROCEDURE Rule 84
" data-specifier="" data-value="COLORADO
 RULES OF CIVIL PROCEDURE Rule 84" data-id="heading_249" id="heading_249"&gt;&lt;span data-paragraph-id="249" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="249" data-sentence-id="265" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;COLORADO
 RULES OF CIVIL PROCEDURE Rule 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="313" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="313" data-sentence-id="329" class="ldml-sentence"&gt;Amended
 and Adopted by &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;, En Banc, &lt;span class="ldml-entity"&gt;June 28, 2024&lt;/span&gt;, effective
 immediately.&lt;/span&gt;
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